  Appellate Case: 25-1035   Document: 66
                                      55   Date Filed: 06/11/2025
                                                       05/14/2025   Page: 1



                               No. 25-1035

             UNITED STATES COURT OF APPEALS
                 FOR THE TENTH CIRCUIT

     ALLIANCE OF HEALTH CARE SHARING MINISTRIES,
                            Plaintiff-Appellant,
                                     v.
MICHAEL CONWAY, in his official capacity as the Commissioner of
           the Colorado Division of Insurance,
                            Defendant-Appellee.

          On Appeal from the United States District Court
                    for the District of Colorado
                Case No. 1:24-cv-01386-GPG-STV

   BRIEF OF THE LEUKEMIA & LYMPHOMA SOCIETY,
   AMERICAN CANCER SOCIETY, AMERICAN CANCER
 SOCIETY CANCER ACTION NETWORK, AMERICAN LUNG
ASSOCIATION, COLORADO CENTER ON LAW AND POLICY,
COLORADO CONSUMER HEALTH INITIATIVE, COLORADO
    GYNECOLOGIC CANCER ALLIANCE, MUSCULAR
 DYSTROPHY ASSOCIATION, AND NATIONAL MULTIPLE
   SCLEROSIS SOCIETY IN SUPPORT OF AFFIRMANCE

Daniel J. Vedra                       Beth Dombroski
Vedra Law LLC                         Triple L Law, P.C.
1444 Blake Street                     24928 Genesee Trail Rd. Unit 100
Denver, Colorado 80202                Golden, CO 80401
(303) 937-6540                        (303) 847-0755
dan@vedralaw.com                      beth@triplellaw.com


                        Counsel for Amici Curiae
    Appellate Case: 25-1035   Document: 66
                                        55     Date Filed: 06/11/2025
                                                           05/14/2025   Page: 2




                        DISCLOSURE STATEMENT
         The Amici Curiae organizations on this brief are non-profit
organizations that have no parent corporations.             No publicly traded
corporation has any ownership interest in any of the Amici Curiae on this
brief.
         No party or party’s counsel authored this brief in whole or in part.
No party or party’s counsel contributed money that was intended to fund
preparing or submitting this brief.         No person contributed money that
was intended to fund preparing or submitting this brief.




                                       ii
       Appellate Case: 25-1035         Document: 66
                                                 55        Date Filed: 06/11/2025
                                                                       05/14/2025        Page: 3



                                  TABLE OF CONTENTS

DISCLOSURE STATEMENT ................................................................... ii
TABLE OF AUTHORITIES ..................................................................... iv
IDENTITY AND INTEREST OF AMICI CURIAE .................................. 1
SUMMARY OF THE ARGUMENT .......................................................... 7
ARGUMENT ............................................................................................. 8
I.       INTRODUCTION............................................................................. 8
II.      ARGUMENT .................................................................................... 9
         A.      Comprehensive Health Coverage Is Critical
                 To Improved Health Outcomes. ............................................ 10
         B.      Health Care Sharing Agreements Pose A
                 Unique Risk To Consumers. ................................................. 11
         C.      The Reporting Law Was Enacted To
                 Protect Consumers. ............................................................... 14
         D.      The Reporting Law Addresses The Risk
                 To Consumers Through Transparency. ................................ 15
         E.      The Balance Of The Equities And The Public
                 Interest Weigh Against An Injunction. ................................ 16
      III.    CONCLUSION .......................................................................... 19
      CERTIFICATE OF COMPLIANCE ................................................... 21
      CERTIFICATE OF DIGITAL SUBMISSION .................................... 22
      CERTIFICATE OF SERVICE ............................................................ 23




                                                   iii
     Appellate Case: 25-1035           Document: 66
                                                 55        Date Filed: 06/11/2025
                                                                       05/14/2025          Page: 4



                               TABLE OF AUTHORITIES

Cases
Davis v. Mineta, 302 F.3d 1104 (10th Cir. 2002) .................................... 17
O Centro Espirita Beneficente Uniao do Vegetal v. Ashcroft,
     389 F.3d 973 (10th Cir. 2004) ................................................... 17-18
RoDa Drilling Co. v. Siegal, 552 F.3d 1203 (10th Cir. 2009) ............ 16-17
Winter v. NRDC, Inc., 555 U.S. 7 (2008)................................................. 17
Statutes
26 U.S.C. § 5000A ...................................................................................... 8
42 U.S.C. § 18001 ...................................................................................... 8
42 U.S.C. § 18022 .................................................................................... 11
C.R.S. § 10-16-107.4 ................................................................. 8, 14-16, 18
Other Authorities
Agency for Healthcare Research and Quality,
    2021 National Healthcare Quality and Disparities Report
    (December 2021) ............................................................................. 10
American Cancer Society,
    Cancer Facts and Figures 2025-2026 (2025) ................................... 5
American Cancer Society, Cancer Prevention & Early Detection
    Facts & Figures 2025-2026 (2025) ................................................. 11
American Cancer Soc’y Cancer Action Network,
    A National Poll: Facing Cancer in the
    Health Care System (2017)............................................................... 5
American Cancer Society Cancer Action Network,
    Cancer Patients Need Access to Comprehensive
    Health Insurance (January 10, 2017) ............................................ 11



                                                    iv
     Appellate Case: 25-1035          Document: 66
                                                55         Date Filed: 06/11/2025
                                                                       05/14/2025         Page: 5



Anthony, et al., Insurance Status and Distant-Stage Disease
    at Diagnosis Among Adolescent and Young Adult Patients
    with Cancer Aged 15 to 39 Years: National Cancer Data
    Base, 2004 Through 2010, 120 CANCER 1212, 1214 (2014) .......... 5
Dieguez, et al., The Cost Burden Of Blood Cancer Care,
     Milliman (Oct. 2018) ........................................................................ 4
Hanna, et al., Mortality Due to Cancer Treatment Delay:
    Systematic Review and Meta-analysis,
    371 BMJ m4087 (Nov. 2020) ............................................................ 6
Partnership to Protect Coverage. Under-Covered: How
     Insurance-Like Products Are Leaving Patients
     Exposed, at 15, (Mar. 2021)............................................................ 12
Shih, et al., Costs Around the First Year of Diagnosis
     for 4 Common Cancers Among the Privately Insured,
     114 Journal of the National Cancer Institute 10 (Oct. 2022) ....... 14
Volk, et al., Health Care Sharing Ministries: What are the
      Risks to Consumers and Insurance Markets?,
      Commonwealth Fund Issue Brief August 2018........................ 12-13
Wilper et al., Health Insurance And Mortality in US Adults,
     99 Am. J. Pub. Health 2289, 2292 (2009) ........................................ 6
Yabroff, et al., Association of Medical Financial Hardship
     and Mortality Among Cancer Survivors in the
     United States, 114 Journal of the National Cancer Institute 6
     (Jun. 13, 2022). ................................................................................. 4
Zhao, et al, Health insurance status and cancer stage at
      diagnosis and survival in the United States,
     CA: A Cancer J. for Clin. (2022)....................................................... 6




                                                   v
   Appellate Case: 25-1035   Document: 66
                                       55   Date Filed: 06/11/2025
                                                        05/14/2025   Page: 6



          IDENTITY AND INTEREST OF AMICI CURIAE
     Amici Curiae The Leukemia & Lymphoma Society, American
Cancer Society, American Cancer Society Cancer Action Network,
American Lung Association, Colorado Center on Law and Policy,
Colorado Consumer Health Initiative, Colorado Gynecologic Cancer
Alliance, Muscular Dystrophy Association, and National Multiple
Sclerosis Society (collectively “Amici”) are patient and consumer
advocacy groups that represent millions of healthcare consumers in
Colorado and across the nation who face debilitating chronic and life-
threatening health conditions. Colorado’s regulatory requirements
concerning Health Care Sharing Agreements (“HCSA” or “HCSAs”)
provide essential transparency to a growing industry that is known to
limit care to unsuspecting consumers.
     The Leukemia & Lymphoma Society (“LLS”) is the world’s largest
voluntary health agency dedicated to fighting blood cancer and ensuring
that the more than 1.3 million blood cancer patients and survivors in the
United States have access to the care they need. LLS’s mission is to cure
blood cancers and to improve the quality of life of patients and their
families. LLS advances that mission by advocating that blood cancer
patients have sustainable access to quality, affordable, coordinated
healthcare, regardless of the source of their coverage.
     The mission of the American Cancer Society (“ACS”) is to improve
the lives of people with cancer and their families through advocacy,
research, and patient support, to ensure everyone has an opportunity to
prevent, detect, treat, and survive cancer. ACS’s extensive scientific
findings have established that (1) access to preventive care is strongly
linked to early detection and successful treatment of many forms of
                                      1
   Appellate Case: 25-1035   Document: 66
                                       55    Date Filed: 06/11/2025
                                                         05/14/2025   Page: 7



cancer, and (2) inability to access such preventive screenings is a major
impediment to advancing the fight against cancer. The American Cancer
Society Cancer Action Network (“ACS CAN”) is ACS’s nonprofit,
nonpartisan advocacy affiliate, making cancer a top priority for
policymakers at every level of government. ACS CAN advocates for
guaranteeing all Americans access to preventive care and affordable and
adequate health insurance.
     The American Lung Association is the nation’s oldest voluntary
health organization, representing millions of people with or at risk for
lung disease in the United States.          The Lung Association strongly
supports universal access to quality and affordable healthcare.
Requiring reporting for HCSAs is essential to educate the public on the
difference between these plans and quality and affordable healthcare
plans.
     The Colorado Center on Law and Policy (“CCLP”), established in
1998, is a non-profit anti-poverty organization advancing the rights of all
Coloradans. CCLP uses legislation, litigation, administrative advocacy
and research to improve health and economic self-sufficiency.                   As
relevant here, CCLP holds a particular expertise in health systems and
affordability, and a core aspect of our mission is ensuring equitable access
to medical services for all Coloradans.
     Colorado     Consumer      Health      Initiative    (“CCHI”)     supports
Coloradans one-on-one to navigate medical billing and health care cost
issues and advance policy changes for more equitable and affordable
health care. Colorado consumers have been directly impacted by the lack
of protections and, prior to HB22-1269, the complete lack of transparency
around HCSAs. Coloradans who have enrolled in these arrangements
                                      2
   Appellate Case: 25-1035   Document: 66
                                       55   Date Filed: 06/11/2025
                                                        05/14/2025   Page: 8



are hit with large medical bills that these arrangements won't cover, and
they reach out to CCHI for help. These are some of the hardest and most
complicated cases to address. The transparency this law brings is vital
to help consumers understand what HCSAs are and how they operate
before they sign up, need to access care, and incur medical costs that
they may be left on the hook to cover.
     Colorado Gynecologic Cancer Alliance (“CGCA”) serves all those
diagnosed with gynecologic cancer in Colorado, including ovarian,
uterine and cervical cancers.       CGCA’s mission is to provide both
emotional and financial support while creating a welcoming and
empowering community where survivors can meet others who must walk
the same path. Our financial support includes insurance optimization
and insurance advocacy.
     The Muscular Dystrophy Association (“MDA”) is the preeminent
voluntary health organization in the United States for people living with
muscular dystrophy, ALS, and over 300 other neuromuscular conditions.
For 75 years, MDA has led the way in accelerating research, advancing
care, and advocating support and inclusion of families living with
neuromuscular disease. MDA's mission is to empower the people we
serve to live longer, more independent lives.
     The National Multiple Sclerosis Society (the “Society”) mobilizes
people and resources so that the nearly one million people affected by
multiple sclerosis (“MS”) can live their best lives while the Society works
to stop MS in its tracks, restore what has been lost and end MS forever.
     Treatment of cancer of all types is extremely stressful due to its
intensity, duration, and the physical and emotional toll it takes on
patients and their families. Chemotherapy, radiation, and stem cell
                                      3
   Appellate Case: 25-1035   Document: 66
                                       55   Date Filed: 06/11/2025
                                                        05/14/2025   Page: 9



transplants can cause severe side effects like fatigue, nausea, pain, and
a weakened immune system, leaving patients vulnerable to infections.
The uncertainty of outcomes, frequent hospital visits, and long periods of
isolation further heighten anxiety and depression. Financial burdens
and disruptions to daily life, work, and relationships add to the
overwhelming strain, making cancer treatment not only a medical
challenge but a deeply personal and emotional ordeal.
     The cost to treat these diseases without health insurance can be
prohibitive for most Americans.        The average cost associated with
leukemia treatment was $200,000 for chronic leukemia and $800,000 for
acute leukemia. 1    Among cancer survivors aged 18-65, twenty-nine
percent reported financial hardships within the past 12 months. 2
Chronic diseases like muscular dystrophy, ALS, and MS are no different.
All require a lifetime of expensive care.
     One obstacle to minimizing stress is substandard or inadequate
health insurance. A patient may only learn about the quality of the
patient’s health insurance after diagnosis.          Cancer diagnoses are
unexpected. The American Cancer Society estimates that in 2025 there
will be over 2 million new cancer diagnosis in the U.S., and more than
618,000 will die from the disease, which is the equivalent of 1,700 deaths



1 Dieguez, et al., The Cost Burden Of Blood Cancer Care, Milliman (Oct.

2018),
https://www.lls.org/sites/default/files/Milliman%20study%20cost%20bur
den%20of%20blood%20cancer%20care.pdf.
2 Yabroff, et al., Association of Medical Financial Hardship and

Mortality Among Cancer Survivors in the United States, 114 Journal of
the National Cancer Institute Issue 6, 863 (Jun. 13, 2022).
                                      4
   Appellate Case: 25-1035   Document: 66
                                       55   Date Filed: 06/11/2025
                                                        05/14/2025   Page: 10



per day.3 40 out of 100 men and 39 out of 100 women will face a cancer
diagnosis in their lifetime.4
     A cancer diagnosis cannot be predicted and can happen at any time.
It is at this moment that a cancer patient’s healthcare coverage is put to
the test. Learning that one’s health insurance plan lacks basic coverages
that the patient expected to exist can contribute to increased stress at a
critical point of treating cancer and contribute to poor outcomes.
     The increased risks associated with inadequate health insurance
stem from a variety of factors. For cancer patients, early detection and
treatment are key. But an American Cancer Society Cancer Action
Network poll conducted before passage of the ACA found that thirty-four
percent of individuals under the age of sixty-five with cancer or a history
of cancer had delayed care because of cost in the preceding twelve
months.5    Another study observed that uninsured females are twice as
likely as insured females, and uninsured males are one and a half times
as likely as insured males, to be diagnosed with cancer that has already
metastasized.6 Research from the American Cancer Society shows that

3 American Cancer Society, Cancer Facts and Figures 2025, at 1 (2025)

https://www.cancer.org/content/dam/cancer-org/research/cancer-facts-
and-statistics/annual-cancer-facts-and-figures/2025/2025-cancer-facts-
and-figures-acs.pdf
4 Id. at 1.
5 American Cancer Soc’y Cancer Action Network, A National Poll:

Facing Cancer in the Health Care System at 17 (2017),
https://www.fightcancer.org/sites/default/files/National%20Documents/
ACS_CANPolling_Report_7.27.10.pdf.
6 Anthony, et al., Insurance Status and Distant-Stage Disease at

Diagnosis Among Adolescent and Young Adult Patients with Cancer
Aged 15 to 39 Years: National Cancer Data Base, 2004 Through 2010,
120 CANCER 1212, 1214 (2014).
                                      5
   Appellate Case: 25-1035   Document: 66
                                       55   Date Filed: 06/11/2025
                                                        05/14/2025   Page: 11



uninsured Americans are less likely to get screened for cancer and thus
are more likely to have their cancer diagnosed at an advanced stage when
survival is less likely and the cost of care more expensive.7 Studies show
that uninsured patients had substantially higher risks of presenting with
late-stage cancers at diagnosis, especially for screen-detectable cancers
and cancers with early signs and symptoms, for which access to care is
critical for early diagnosis.8 Cancer patients who experience financial
hardship have a higher adjusted mortality risk.
     Unsurprisingly,     health    outcomes     drastically    improve    when
individuals have access to healthcare due to comprehensive and robust
health insurance. A study found that approximately forty-five thousand
deaths annually could be attributed to the lack of health insurance
among working-age Americans. 9 These uninsured individuals had a
forty percent higher risk of death than their privately insured
counterparts.10
     Amici are uniquely aware of the need for patients and consumers
to have access to comprehensive, quality, and affordable healthcare, as
the patients amici represent face costly care needs. Americans at any
time can be unexpectedly diagnosed with life-threatening diseases such
as cancer, which require immediate and costly treatment that can be

7 Zhao, et al, Health insurance status and cancer stage at diagnosis and
survival in the United States, CA: A Cancer J. for Clin., (2022) available
at https://doi.org/10.3322/caac.21732
8 Hanna, et al., Mortality Due to Cancer Treatment Delay: Systematic

Review and Meta-analysis, 371 BMJ m4087 at 5, (Nov. 2020)
https://www.bmj.com/content/371/bmj.m4087.
9 Wilper et al., Health Insurance And Mortality in US Adults, 99 Am. J.

Pub. Health 2289, 2292 (2009).
10 Id.

                                      6
   Appellate Case: 25-1035    Document: 66
                                        55   Date Filed: 06/11/2025
                                                         05/14/2025   Page: 12



financially devastating.        In addition, chronic care patients have
consistent and continuous care needs that can be equally as costly,
especially if those conditions worsen from involuntarily delayed care. It
is imperative that consumers have transparency as to what health plans
cover when seeking cost-effective coverage for themselves and their
families.
     Amici are invested in ensuring that consumers and patients have
the care they need when they need it. Amici supported the passage of
Colorado’s HCSA reporting law because it provides transparency that
ultimately protects consumers. Amici believe that any delay in reporting
will harm Coloradans seeking to purchase health coverage for themselves
and their families.
                   SUMMARY OF THE ARGUMENT
     The District Court correctly denied a motion to preliminarily enjoin
Colorado’s HCSA reporting law. Comprehensive healthcare coverage is
critical to positive outcomes in the treatment of cancer and other chronic
and acute illnesses.         HCSAs pose a risk to consumers obtaining
comprehensive healthcare coverage because they can be designed and
marketed similar to traditional heath insurance but lack the minimum
protections guaranteed by regulated insurance plans. The Reporting
Law at issue in this case was enacted to protect consumers by promoting
transparency and permitting consumers to assess and compare HCSAs
on a basic level. The balance of equities favored denying the injunction
because the public’s interest in obtaining transparent information about
HCSAs outweighed the alleged irreparable harm that the Appellant
purported to experience. For these reasons, Amici ask the Court to affirm
the denial of the motion for preliminary injunction.
                                       7
     Appellate Case: 25-1035   Document: 66
                                         55   Date Filed: 06/11/2025
                                                          05/14/2025   Page: 13



                                  ARGUMENT
I.     INTRODUCTION
       In Colorado, HCSAs are predominantly established by health care
sharing ministries (“HCSM”). An HCSM is a non-profit organization of
individuals with a common ethical or religious belief and who agree to
share medical expenses among members in accordance with those beliefs.
26 U.S.C. § 5000A(d)(2)(B)(ii). Members of an HCSM are exempt from
the minimum essential health coverage requirements of the Affordable
Care Act, 42 U.S.C. § 18001 et seq. (“ACA”). In response to deceptive
marketing practices that confused consumers into believing that they
were purchasing health insurance, states across the country have
stepped in to address misleading advertising of HCSAs that has caused
significant consumer harm. In Colorado, aggressive marketing of such
agreements has led to a host of consumer complaints. (App. Vol. III at
A-180-232). To address this documented consumer harm, the State of
Colorado acted to bring transparency to the public regarding these
agreements through Colorado House Bill 22-1269, codified at C.R.S. § 10-
16-107.4, et seq. (hereinafter, the “Reporting Law”).
       The Reporting Law addresses the complaints that consumers and
providers have made to the Division of Insurance (“DOI”) about HCSAs.
(Id.). The majority of these complaints concern HCSAs denying coverage,
refusing payment to providers, and misleading consumers over the
nature of an HCSM. (Id.). The Reporting Law requires a person offering
an HCSA to report basic, high-level information about the operation of
the sharing agreement to the Colorado Division of Insurance (the
“Division”). That information is summarized and released to the public
on the Division’s website. The report provides critical information about
                                        8
      Appellate Case: 25-1035     Document: 66
                                            55   Date Filed: 06/11/2025
                                                             05/14/2025   Page: 14



the HCSA, such as whether the HCSA is paying claims or has established
a relationship with care providers so that Coloradans are able to make
the best choice for their family’s health needs.                No other resource
summarizes and provides this critically important information, like how
much the HCSA spends on administrative expenses; how much the
HCSA spends on claims; and the amount of claims the HCSA has denied.
C.R.S. § 10-16-107.4(1)(a).
        Two years after the act became law, the Alliance of Health Care
Sharing Ministries (the “Appellant”) sued the Commissioner for the
Division, claiming that the Reporting Law violates the Free Exercise
Clause, the Establishment Clause, the Freedom of Association, and the
Free Speech Clause.             Also two years after the act became law, the
Appellant sought a preliminary injunction enjoining the enforcement of
the Reporting Law on the grounds, among others, that it would suffer
irreparable harm if this two-year-old law was not immediately struck
down as unconstitutional. After the Appellant’s motion for preliminary
injunction was denied, it appealed.
II.     ARGUMENT
        Comprehensive healthcare coverage is critical to health outcomes.
Recognizing that sharing plans pose a unique risk to patients and
consumers, Colorado’s attempt to regulate health care sharing plans via
the Reporting Law was intended to protect patients and consumers. The
law addresses the risks to consumers, and the balance of the equities and
public interest weigh against an injunction.
///
///
///
                                           9
   Appellate Case: 25-1035   Document: 66
                                       55    Date Filed: 06/11/2025
                                                         05/14/2025   Page: 15



      A.    Comprehensive Health Coverage                    Is   Critical       To
            Improved Health Outcomes.
      Amici are acutely aware of the established fact that comprehensive
health coverage improves outcomes, and poor coverage leads to poor
outcomes. When consumers have insurance that provides comprehensive
coverage of services, they can access the healthcare system, and in a
timely manner when faced with an emergent illness. The importance of
access is not confined to that initial point of contact for an emergent issue.
Access allows patients to develop an ongoing relationship with their
providers, who become familiar with their health history.                    This
relationship then provides a point of access to the healthcare system
when emergent needs arise.11
      Further, having comprehensive healthcare allows healthcare
professionals to conduct diagnostic testing, make referrals for critical
specialty care, timely schedule procedures, and manage chronic
conditions. This leads to “statistically significant and clinically relevant
improvements.” 12 Additionally, comprehensive coverage improves
medication adherence. Moreover, patients with comprehensive coverage
have more regular communication with their providers, with whom they
have developed relationships. 13            This improves management of
conditions, which ultimately lowers costs and leads to better outcomes.
      Comprehensive coverage for ACA-mandated essential health
benefits means that consumers can be routinely screened for certain
cancers.   Screening for cancer reduces cancer mortality for breast,

11 Agency for Healthcare Research and Quality, 2021 National

Healthcare Quality and Disparities Report (Dec. 2021).
12 Id.
13 Id. at A3

                                      10
   Appellate Case: 25-1035   Document: 66
                                       55   Date Filed: 06/11/2025
                                                        05/14/2025   Page: 16



cervical, colorectal, lung, and prostate by detecting cancers early.
Screening can also prevent cervical and colorectal cancer by identifying
and treating precancerous lesions. 14 Consequently, early detection is
crucial for improved outcomes. But those improved outcomes require a
patient to have an entry point to the healthcare system. Without access
to comprehensive coverage, a patient may find themselves having to
delay care or forgo care altogether because of the costs, potentially
leading to preventable deaths.15

     B.    Health Care Sharing Agreements Pose A Unique Risk
           To Consumers.
     HCSAs may not provide comprehensive coverage. A participant in
an HCSA is exempt from the minimum coverage requirement of the ACA,
and the healthcare cost sharing of HCSAs is exempt from the essential
health benefit requirements of the ACA. Those essential health benefits
include   emergency      services,   hospitalization,    prescription    drugs,
laboratory services, preventive and wellness services, and chronic disease
management. 42 U.S.C. § 18022(b)(1). Because nothing requires an
HCSA to provide these essential health benefits, any advertising or
marketing that suggests, overtly or by implication, that an HCSA is
health insurance could mislead consumers to mistakenly choose an

14 American Cancer Society, Cancer Prevention & Early Detection

Facts & Figures 2025-2026, at 46 (2025), available at
https://www.cancer.org/content/dam/cancer-org/research/cancer-facts-
and-statistics/cancer-prevention-and-early-detection-facts-and-
figures/2025-cped-files/cped-cff-2025-2026.pdf
15 American Cancer Society Cancer Action Network, Cancer Patients

Need Access to Comprehensive Health Insurance (January 10, 2017)
https://www.fightcancer.org/sites/default/files/Comprehensive%20Healt
h%20Coverage%20Factsheet%2001-05-17.pdf
                                      11
   Appellate Case: 25-1035   Document: 66
                                       55   Date Filed: 06/11/2025
                                                        05/14/2025   Page: 17



HCSA, believing the HCSA provides the same coverage as ACA-
compliant health insurance. And the consequence of being misled is not
just monetary—the consequences are life or death.
     HCSAs have employed aggressive and deceptive marketing tactics
that confuse consumers looking for inexpensive health coverage. HCSA
features closely resemble ACA-compliant health plans: they have
monthly premiums, deductibles, and copayments; defined benefits; and
some have provider networks. 16 Many HCSAs use tiered cost levels
similar to those of the ACA market plans, such as gold, silver, and
bronze.17 These plans may also pay brokers to market the plans, and do
so during open enrollment, claiming that these plans are low-cost
alternatives to regular insurance. 18 These tactics lure unsuspecting
consumers, especially low-income individuals and families, into
purchasing coverage under an HCSA that lacks the minimum
requirements and guarantees of regulated insurance.
     The problem for consumers is that these plans simply do not
provide the same coverage as ACA-compliant plans. Benefits are much
more limited than ACA-compliant plans and contain exclusions for pre-
existing conditions. They may also lack coverage for behavioral health
services, including prescriptions for common psychiatric medications,


16 Volk, et al., Health Care Sharing Ministries: What are the Risks to

Consumers and Insurance Markets? Commonwealth Fund Issue Brief
August 2018,
https://www.commonwealthfund.org/sites/default/files/2018-
08/Volk_hlt_care_sharing_ministries.pdf.
17 Id. at 3
18 Partnership to Protect Coverage. Under-Covered: How Insurance-Like

Products Are Leaving Patients Exposed, at 15 (Mar. 2021).
                                      12
   Appellate Case: 25-1035   Document: 66
                                       55   Date Filed: 06/11/2025
                                                        05/14/2025   Page: 18



and payment is never guaranteed.19 Further, as the Division noted in
October 2024, many HCSAs require members to disclose and to use other
insurance first, such as Medicaid, Medicare, or TriCare. (App. Vol. XVIII
at A-898). Some HCSAs require members to negotiate provider bills
before seeking reimbursement from the HCSA. (App. Vol. XV at A-740).
All suffer from the same problem: there is no guarantee of payment. (App.
Vol. XII at A-556).
      This means that patients with life-threatening diagnoses must
spend time trying to figure out how their bills will be paid when they
should be focusing on treatment. Worrying about how to pay can lead to
substantially delayed care, when timely care is vital to prevent disease
proliferation. Disease proliferation extends and increases the cost of care
while jeopardizing outcomes.
      HCSAs pose an additional risk to consumers with the potential to
raise overall costs for those relying on ACA-compliant plans. Because
these plans are aggressively marketed as low-cost coverage that allows
the consumer to meet the same needs covered by traditional health
insurance, an increase in membership in these plans may draw healthy
individuals out of other forms of comprehensive coverage such as
traditional health insurance. In order to have a healthy risk pool, issuers
rely on a large risk pool of both healthy individuals and those with more
healthcare needs to keep insurance costs low. If healthy people leave the
risk pool, leaving it dense with those who have more healthcare needs,
the cost of insurance will increase because there are not enough low-cost
individuals left in the pool to spread insurance risk.


19 Id. at 14-15.

                                      13
   Appellate Case: 25-1035   Document: 66
                                       55   Date Filed: 06/11/2025
                                                        05/14/2025    Page: 19



     C.    The Reporting           Law      Was    Enacted       To     Protect
           Consumers.
     The proliferation of HCSAs in Colorado has led to a host of
complaints to the Division from providers and consumers alike. (App. Vol.
III at A-180-232). Complaints from providers allege unpaid claims and
payment delays. (Id.). Complaints from consumers allege being misled
by brokers as to the nature of HCSAs, creating the mistaken belief that
an HCSA is an ACA-compliant plan. Consumers also complained that
payment denials left them with huge, unforeseen provider bills. For a
patient, such confusion and payment refusals could be devastating.
     A cost study published in the Journal of the National Cancer
Institute revealed that the average cost of cancer is well over
$100,000.00.20 The study pointed to the alarming increase in the cost of
cancer care, coupled with the increase in out-of-pocket costs for those
with ACA-compliant plans. 21 Such increases are leading to financial
toxicity for even those with fully ACA-compliant insurance plans. For
those who face payment refusals after relying on HCSAs, more of the cost
is shifted to the consumer. Facing the full cost of care, patients delay in
seeking care or forego treatment altogether.
     Colorado’s law is a reporting law that attempts to protect
consumers through transparency. The law requires certain disclosures
to be made by HCSAs to the Division. This includes reporting such basic,
generic information as the number of Coloradans enrolled in such plans;

20 Shih, et al., Costs Around the First Year of Diagnosis for 4 Common

Cancers Among the Privately Insured, 114 Journal of the National
Cancer Institute 10, at 1392-99 (Oct. 2022) available
at https://doi.org/10.1093/jnci/djac141.
21 Id.

                                      14
   Appellate Case: 25-1035   Document: 66
                                       55   Date Filed: 06/11/2025
                                                        05/14/2025   Page: 20



the value of claims submitted by members that are approved, denied, and
approved but not paid; marketing materials; and third-party contracts,
including providers and brokers. C.R.S. § 10-16-107.4. These disclosures
will then be analyzed and made available publicly on the Division’s
website. Id.
     Making this information available to the public allows consumers
to review arrangements under consideration for purchase and determine
whether the HCSA is likely to meet the consumer’s healthcare needs.
This information gives consumers an idea of how much HCSAs actually
pay out in claims, so they can assess risk and their healthcare needs. For
example, if a plan exhibits a high ratio of administrative expense coupled
with high claim denials, a consumer may opt for another plan or other
form of coverage.     The law also helps the state monitor how many
consumers may be at financial risk from membership in an HCSA.
Ultimately, the law does not directly prevent financial toxicity but
provides consumers with a set of tools to assess the unique risks these
plans pose.

     D.       The Reporting Law Addresses The Risk To Consumers
              Through Transparency.
     The Reporting Law seeks to improve health outcomes by promoting
informed choice by consumers at the time the consumer purchases
healthcare coverage. As it pertains to consumers, the Reporting Law
does two things. First, the Reporting Law requires HCSAs to report basic
information concerning the operation of a health care cost-sharing plan
to the Commissioner. C.R.S. § 10-16-107.4(1)(a). This includes general
demographic information about the plan, the amounts collected to fund
the plan, and the amounts paid out on the plan. Id. This also includes
                                      15
      Appellate Case: 25-1035   Document: 66
                                          55   Date Filed: 06/11/2025
                                                           05/14/2025   Page: 21



information about whether the plan has arrangements with care
providers and the amounts that the plan has paid relative to the amounts
requested to be paid. Id. And the Reporting Law requires an HCSA to
provide a copy of its consumer-facing marketing materials to the Division.
Id.
        Second, the Reporting Law requires the Commissioner to prepare a
report summarizing the information submitted by HCSAs and publish
the report on the Division’s website. C.R.S. § 10-16-107.4(3). This report,
derived from information sworn by the HCSA to be accurate under C.R.S.
§ 10-16-107.4(1)(b), must be accurate and evidence-based. C.R.S. § 10-
16-107.4(3)(b).
        In sum, the Reporting Law requires that HCSAs provide basic
information about the financial and logistical operation of a plan. That
information is reviewed and reported to healthcare consumers for their
use in deciding whether to enroll in an HCSA, which HCSA to enroll in,
or whether another type of health-care coverage, such as health
insurance, is more appropriate for the consumer.                    Without this
information, healthcare consumers left to make decisions on critically
important issues informed only by the advertisements of HCSAs.

        E.     The Balance Of The Equities And The Public Interest
               Weigh Against An Injunction.
        The District Court correctly determined that the Appellant had not
met its burden of establishing the balance of equities weighed in its favor.
A “preliminary injunction is [intended] to preserve the pre-trial status
quo . . . .” RoDa Drilling Co. v. Siegal, 552 F.3d 1203, 1208 (10th Cir.
2009).       “To obtain a preliminary injunction, the moving party must
demonstrate” among other things, “that the balance of equities tips in the
                                         16
   Appellate Case: 25-1035    Document: 66
                                        55   Date Filed: 06/11/2025
                                                         05/14/2025   Page: 22



movant’s favor; and (4) that the injunction is in the public interest.” Id.
“A preliminary injunction is an extraordinary remedy never awarded as
of right. In each case, courts must balance the competing claims of injury
and consider the effect of granting or withholding the requested relief,
paying particular regard to the public consequences.” Winter v. NRDC,
Inc., 555 U.S. 7, 9 (2008).
      The balance of equities factor is addressed by balancing the
irreparable harm to the moving party against the harm caused by
granting the injunction, including the public consequences.             Davis v.
Mineta, 302 F.3d 1104, 1116 (10th Cir. 2002) (“We must next balance the
irreparable harms we have identified against the harm to defendants if
the preliminary injunction is granted.”). When considering the balance
of harms, “[t]he status quo is also relevant to the credibility of the parties’
claims of irreparable harm.” O Centro Espirita Beneficente Uniao do
Vegetal v. Ashcroft, 389 F.3d 973, 1017 (10th Cir. 2004). “It is difficult to
measure irreparable harm, and either party’s willingness to put up with
a situation in the past can serve as an indication that the party’s injury
is not as serious as alleged, or that the party has implicitly consented to
the supposed injury.” Id.
      Against this Court’s observation in O Centro that delay in seeking
injunctive relief undermines a claim of irreparable harm, Appellant
waited over 23 months after the Reporting Law became effective to file
suit. Despite waiting until 2024 to challenge a law passed in 2022,
Appellant describes the Reporting Law as “recently enacted” and “new”.
(Br. at 2). Appellant’s argument on this point is that it waited until the
regulations implementing the law were finalized, despite these
regulations   mirroring       the   Reporting   Law’s     statutory    reporting
                                       17
   Appellate Case: 25-1035   Document: 66
                                       55   Date Filed: 06/11/2025
                                                        05/14/2025   Page: 23



requirements. (Br. at 59). This argument rings hollow and reflects that
any harm to Appellant or its members is “not as serious as alleged . . . .”
O Centro, supra.
     By contrast, the harm to the public is great. Without the Reporting
Law, the healthcare consuming public does not have access to the
critically important information required to be reported to the Division
and published on the Division’s website. For example, the Reporting Law
requires plans to disclose “[a]ny contract the person has entered into with
providers in this state that provide health-care services to plan or
arrangement participants . . . .” C.R.S. § 10-16-107.4(1)(a)(IV). This
information allows a potential consumer to discern which plans are
merely collecting contributions towards plan expenses from those plans
that have negotiated contracts with care providers to establish a network
of reliable and affordable care. Additionally, the Reporting Law permits
consumers to compare the administrative cost ratios among plans. C.R.S.
§ 10-16-107.4(1)(a)(V). This information permits potential consumers to
assess which plans are expensive to operate and likely to retain less of
the participant’s contributions for paying health-care related expenses.
Similarly, the Reporting Law requires plans to disclose the total amount
of requests for reimbursement of health-care costs, the total amount that
were determined to qualify for reimbursement or were denied; and the
total amount of payments made for healthcare costs or services and the
total denied. C.R.S. § 10-16-107.4(1)(a)(VI-X). This information allows a
potential consumer to understand the amount of healthcare costs that
are submitted to the plan and actually paid (or denied).
     The foregoing examples illustrate the Reporting Law’s intended
benefits. Without the Reporting Law, there is no required disclosure of
                                      18
   Appellate Case: 25-1035   Document: 66
                                       55   Date Filed: 06/11/2025
                                                        05/14/2025   Page: 24



this basic information that allows consumers to understand how a plan
functions. And without the Reporting Law, consumers cannot compare
plans against each other or basic health insurance. Instead, a consumer’s
only option is to request information from the HCSA and await a
response. The public’s interest is best served by requiring this disclosure
and allowing the public to make informed decisions concerning their
healthcare choices.
III. CONCLUSION
     The marketplace for healthcare coverage is difficult to navigate and
consumers are punished for poor choices.             The Colorado General
Assembly acted to ameliorate consumer harm by requiring all HCSAs to
report basic information about the advertising and operation of a plan to
the Division.     This reporting provides the consumer with basic
information that allows the consumer to make a meaningful choice.
     After this law had existed for nearly two years, the Appellant
challenged it as unconstitutional on myriad grounds and sought
preliminary injunctive relief. After concluding that the Appellant had
failed to show a strong likelihood of success on the merits, the Appellant
faced a heightened burden to show that the balance of equities weighed
in its favor.    The public’s interest in accurate information about
healthcare coverage outweighed any irreparable harm to the Appellant,
and Appellant failed to meet this burden.
     For these reasons, Amici respectfully request that the Court affirm
the District Court’s denial of the motion for preliminary injunction.


DATED: May 14, 2025


                                      19
Appellate Case: 25-1035   Document: 66
                                    55    Date Filed: 06/11/2025
                                                      05/14/2025   Page: 25



                                         Respectfully submitted,
                                         /s/ Daniel J. Vedra
                                         Daniel J. Vedra
                                         Vedra Law LLC
                                         1444 Blake Street
                                         Denver, Colorado 80202
                                         (303) 937-6540
                                         Dan@vedralaw.com

                                         Beth Dombroski
                                         Triple L Law, P.C.
                                         24928 Genesee Trail Rd.
                                         Unit 100
                                         Golden, CO 80401
                                         (303) 847-0755
                                         beth@triplellaw.com
                                         Attorneys for Amici Curiea




                                   20
   Appellate Case: 25-1035   Document: 66
                                       55    Date Filed: 06/11/2025
                                                         05/14/2025   Page: 26



                  CERTIFICATE OF COMPLIANCE

      This brief complies with the word limit of Fed. R. App. P. 29(a)(5)
and 32(a)(7)(B) because this brief contains 4,492 words, excluding parts
of the brief exempted by Fed. R. App. P. 32(f). This brief complies with
the typeface requirements of Fed. R. App. P. 32(a)(5) and the type-style
requirements of Fed. R. App. P. 32(a)(6) because this brief has been
prepared in Microsoft Word using a proportionally spaced typeface, 14-
point Century Schoolbook.

Dated: May 14, 2025

                                            /s/ Daniel J. Vedra
                                            Daniel J. Vedra
                                            Counsel for Amici Curiae




                                      21
   Appellate Case: 25-1035   Document: 66
                                       55    Date Filed: 06/11/2025
                                                         05/14/2025   Page: 27



             CERTIFICATE OF DIGITAL SUBMISSION

       I hereby certify that with respect to the foregoing: (1) all required
privacy redactions have been made per 10th Cir. R. 25.5; (2) if required
to file additional hard copies, that the ECF submission is an exact copy
of those documents; (3) the digital submissions have been scanned for
viruses with the most recent version of a commercial virus scanning
program, McAfee Antivirus, and according to the program are free of
viruses.

Dated: May 14, 2025

                                            /s/ Daniel J. Vedra
                                            Daniel J. Vedra
                                            Counsel for Amici Curiae




                                      22
   Appellate Case: 25-1035   Document: 66
                                       55    Date Filed: 06/11/2025
                                                         05/14/2025   Page: 28



                         CERTIFICATE OF SERVICE

      I hereby certify that on May 14, 2025, I electronically filed the
foregoing brief with the Clerk of the Court for the United States Court
of Appeals for the Tenth Circuit using the appellate CM/ECF system. I
certify that all participants in the case are registered CM/ECF users,
and that service will be accomplished by the CM/ECF system.

Dated: May 14, 2025

                                            /s/ Daniel J. Vedra
                                            Daniel J. Vedra
                                            Counsel for Amici Curiae




                                      23
